                        IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



GREGORY LEE JOHNSON,
                                                 CASE NO.: 1:18-CV-00076
                      Plaintiff,
                                                 JUDGE: SOLOMON OLIVER, JR.
               vs.

THE CITY OF CLEVELAND, MICHAEL
McGRATH, CALVIN WILLIAMS,
TIMOTHY GAERTNER, WILLIAM
STANTON, JAMES BELLOMY, DONALD
TAYLOR, INFOWARS, LLC, ALEX                      MOTION OF DEFENDANT JOSEPH
JONES, JOSEPH BIGGS, JORDAN                      BIGGS TO DISMISS
SALKIN, and JOHN DOES 1-6,

                      Defendants.


       Defendant Joseph Biggs, by counsel, respectfully moves this Court to dismiss the First

Amended Complaint (ECF No. 2) (the “FAC”) pursuant to Rule 12(b)(6) of the Federal Rules of

Civil Procedure. For the reasons set forth in the accompanying Memorandum in Support, which

is incorporated herein by this reference, the FAC fails to state a claim against Defendant Joseph

Biggs upon which relief can be granted.
Dated: May 14, 2018                                  Respectfully submitted,


                                                     /s/ Patrick T. Lewis
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                                                     Counsel for Defendants, Infowars, LLC, Alex
                                                     Jones, and Joseph Biggs


                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing was filed on

May 14, 2018 using this Court’s electronic filing system. Notice of this filing will be sent to all

counsel via the Court’s electronic system. Counsel can retrieve the filing using the Court’s system.


                                                               /s/ Patrick T. Lewis
                                                               Patrick T. Lewis


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